Case 2:18-cr-00379-WHW Document 109 Filed 05/09/19 Page 1 of 17 PageID: 275



                                            U.S. Department of Justice
                                            United States Attorney
                                            District of New Jersey
Anthony Moscato                             970 Broad Street, Newark, NJ 07102 Suite 700
Assistant U.S. Attorney                     (973) 645-2752


                                            May 9, 2019
The Honorable William H. Walls
United States Senior District Judge
Martin Luther King Building
50 Walnut Street
Newark, New Jersey 07102

         United States v. Germaine H. King, et al.
         Criminal Number: 18-379 (WHW)
         Re: United States’ Response to Defense Motion


Dear Senior Judge Walls:

      Please accept this letter brief in lieu of a more formal submission
concerning the Government’s response to defendant Daniel K. Dxrams’
omnibus motions. For the reasons forth herein, the Government respectfully
requests that the Court deny the defense’s motion.

                            I.    Overview of the Facts

             Defendants Germaine H. King (“King”), Daniel Dxrams (“Dxrams”),
and their co-conspirators engaged in an illegal debt elimination scheme (the
“Scheme”). In furtherance of the Scheme, defendants King, Dxrams, and their
co-conspirators made and used false monetary instruments and other fictitious
documents in an effort to unlawfully payoff their unlawfully debts. A grand
jury returned a Second Superseding Indictment against both defendants,
charging (1) King with conspiracy to commit bank and mail fraud and
substantive bank fraud charges related to a fraudulent money order scheme
(Counts 1 through 4); (2) King and Dxrams with conspiracy to commit mail and
substantive mail fraud charges related to a fraudulent cashier’s check scheme
(Counts 5 through 15); and (3) Dxrams with bankruptcy fraud (Counts 16 and
17)(the “Indictment”).

         The Money Order Scheme

      Defendant King and Co-Conspirator Melissa Reynolds (“Reynolds”)
resided together in a residence in Elizabeth, New Jersey (the “Elizabeth
Residence”).
Case 2:18-cr-00379-WHW Document 109 Filed 05/09/19 Page 2 of 17 PageID: 276



       In May 2014, defendant King obtained a fraudulent money order
“template” from another co-conspirator via email. Thereafter, defendant King
and Co-Conspirator Melissa Reynolds (“Reynolds”) used this fraudulent money
order template to create several fraudulent money orders as intended payoffs of
their lawful loans and obligations. For example, in May 2014, defendant King
and Co-Conspirator Reynolds mailed two fraudulent money orders, in the
approximate amounts of $22,260 and $39,585, to a credit union in New York
in their unlawful effort to fraudulently discharge two auto loans for their two
Mercedes-Benz cars. In May 2014, defendant King and Co-Conspirator
Reynolds manufactured a fraudulent $432,000 money order and mailed it to a
financial institution that held the mortgage on the Elizabeth Residence. As a
result of sending this fraudulent $432,000 money order, defendant King and
Co-Conspirator Reynolds tricked the financial institution into erroneously
discharging the mortgage on the Elizabeth Residence. In addition, defendant
King made and mailed fraudulent money orders in his attempt to fraudulently
discharge his credit card debts with The Home Depot and Macy’s.

      The Luxury Car Scheme

       Defendant Dxrams, a resident on Maplewood, New Jersey, is employed as
a social worker/investigator with New Jersey’s Child Protection and
Permanency, a child welfare agency. He operated at least two side businesses:
a car rental business and an online auction business.

      As part of his car rental business, defendant Dxrams leased high-end
luxury cars, including a Rolls Royce and a Bentley. He also leased two
Mercedes-Benz cars, and his spouse leased a Mercedes-Benz car (“MB-1,” MB-
2,” and “MB-3”). In total, as of early 2017, defendant Dxrams (together with
his spouse’s car) was responsible for the monthly payments of five luxury cars.

       Beginning in early 2017, after missing monthly payments on certain of
his cars, defendant Dxrams sought out the assistance of defendant King.
Thereafter, defendant King, defendant Dxrams, and Co-Conspirator Reynolds
conspired to make and use fraudulent cashier’s checks in their collective
efforts to payoff the leases on defendant Dxrams’ cars.

      In furtherance of the scheme, defendant Dxrams provided payoff
information related to several of his cars to defendant King and Co-Conspirator
Reynolds. Based on this information, several fraudulent cashier’s checks were
created and sent to the finance companies for Rolls Royce, Bentley, and
Mercedes-Benz in an effort to payoff defendant Dxrams’ luxury cars.

      On or about March 10 and 15, 2017, after receiving two fraudulent
cashier’s checks (one for his car and one for his spouse’s car), the finance
company for Mercedes-Benz sent two letters to defendant Dxrams’ home,
advising him that the cashier’s checks were not accepted. At around the same
time, based on a fraudulent $101,000 cashier’s check, Bentley released title of
                                        2
Case 2:18-cr-00379-WHW Document 109 Filed 05/09/19 Page 3 of 17 PageID: 277



this luxury car to defendant Dxrams. In late March 2017, defendant Dxrams
sold the Bentley to a third party for approximately $82,000. Defendant
Dxrams then deposited a substantial amount of this money into one of his
personal bank accounts. Immediately after depositing this money into his
bank account, defendant Dxrams withdrew $25,000 in cash from this account.
Defendant Dxrams then obtained a genuine $25,000 cashier’s check from his
bank and issued it to defendant King. Defendant King then deposited this
cashier’s check into his own bank account.

      From in or about February 2017 through in or about June 2017,
defendant King, defendant Dxrams, and Co-Conspirator Reynolds conspired to
mail and mailed numerous fraudulent cashier’s checks to the finance
companies for Rolls Royce, Bentley, and Mercedes-Benz, as follows:

Approximate       Victim Leasing   Description
Date              Company
February 27,      Mercedes-Benz    A fraudulent cashier’s check, in the
2017                               approximate amount of $51,000 for
                                   MB-1.
February 27,      Bentley          A fraudulent cashier’s check, in the
2017                               approximate amount of $101,000, for
                                   the Bentley.
February 27,      Rolls Royce      A fraudulent cashier’s check, in the
2017                               approximate amount of $300,000, for
                                   the Rolls Royce.
February 27,      Mercedes-Benz    A fraudulent cashier’s check, in the
2017                               approximate amount of $112,000, for
                                   MB-3.

March 9, 2017     Mercedes-Benz    A fraudulent cashier’s check, in the
                                   approximate amount of $50,000, for
                                   MB-2.
April 4, 2017     Rolls Royce      A fraudulent cashier’s check, in the
                                   approximate amount of $300,000, for
                                   the Rolls Royce.
May 2, 2017       Rolls Royce      A fraudulent cashier’s check, in the
                                   approximate amount of $300,000, for
                                   the Rolls Royce.
May 9, 2017       Mercedes-Benz    A fraudulent cashier’s check, in the
                                   approximate amount of $53,000, for
                                   MB-1.
June 21, 2017     Mercedes-Benz    A fraudulent cashier’s check, in the
                                   approximate amount of $116,000, for
                                   MB-3.



                                     3
Case 2:18-cr-00379-WHW Document 109 Filed 05/09/19 Page 4 of 17 PageID: 278



Approximate        Victim Leasing     Description
Date               Company
June 22, 2017      Mercedes-Benz      A fraudulent cashier’s check, in the
                                      approximate amount of $38,000, for
                                      MB-2.

      Defendant Dxrams’ Bankruptcy Petition

       On or about December 11, 2017, defendant Dxrams filed and caused to
be filed in the United States Bankruptcy Court in the District of New Jersey a
Chapter 7 bankruptcy petition and corresponding forms and schedules
(collectively the “Bankruptcy Petition”) entitled In re Daniel Kusi, Case No.:
17-34849 (JKS). 1 Defendant Dxrams signed his Bankruptcy Petition under
penalty of perjury.

      In his Bankruptcy Petition and as a condition of obtaining a “fresh start”
under the Bankruptcy Code, defendant Dxrams was truthfully required to
answer questions concerning, among other things, his assets and liabilities.
The Indictment alleges the following:

Question                         Matter Falsified or Concealed
Do you own or have any           Defendant Dxrams concealed his
legal or equitable interest in   ownership and interest in three firearms,
any firearm?                     namely:

                                 (1) Sig Sauer P226 .40 caliber handgun;

                                 (2) Sig Sauer P220X6 .45 caliber handgun;
                                 and

                                 (3) Beretta 92 9mm handgun.
Claims against third parties,    Defendant Dxrams concealed that on or
whether or not you have          about November 27, 2017, he commenced
filed a lawsuit or made a        a lawsuit in federal court in the District of
demand for payment.              New Jersey, demanding approximately
                                 $74,000 from a defendant. (17-12038)
                                 (JMV-JBC).

                                 Defendant Dxrams concealed that on or
                                 about November 27, 2017, he commenced
                                 a second lawsuit in federal court in the
                                 District of New Jersey, demanding
                                 approximately $75,000 from another
                                 defendant. (17-12040)(NLH-JS).

      1.     In November 2017, defendant Dxrams legally changed his name to
“Daniel Kusi.”
                                         4
Case 2:18-cr-00379-WHW Document 109 Filed 05/09/19 Page 5 of 17 PageID: 279



Question                     Matter Falsified or Concealed
Describe Employment,         Defendant Dxrams concealed his self-
including self-employed      employment with his car rental service and
work and spouse’s work.      his spouse’s employment with the State of
                             New Jersey.
What is your current marital Defendant Dxrams falsely claimed that he
status?                      was “not married.”
Did you have any income      Defendant Dxrams concealed that he
from employment or from      operated a business and derived gross
operating a business during income from a business in 2017. In truth
this year (2017) or the two  and in fact, defendant Dxrams operated a
previous calendar years      car rental business and earned at least
(2016 and 2015)?             $32,000 in gross receipts or sales from his
                             operation of this business in 2017.

                             Defendant Dxrams concealed that he
                             operated a business and derived gross
                             income from a business in 2016. In truth
                             and in fact, defendant Dxrams operated a
                             car rental business and earned at least
                             $48,000 in gross receipts or sales from his
                             operation of this business in 2016.

                             Defendant Dxrams concealed that he
                             operated a business and derived gross
                             income from a business in 2015. In truth
                             and in fact, defendant Dxrams operated a
                             car rental business and earned at least
                             $4,000 in gross receipts or sales from his
                             operation of this business in 2015.
Did you receive any other    Defendant Dxrams concealed that in 2017
income during this year      he received income and deposited
(2017) or the two previous   approximately $105,000 into his individual
calendar years (2016 and     Wells Fargo bank account, including
2015), including money       approximately $76,000 from the sale of the
collected from lawsuits?     Bentley.

                             Defendant Dxrams concealed that in 2016
                             he received income and deposited
                             approximately $52,000 into his individual
                             Wells Fargo bank account, including
                             approximately $7,361.88 resulting from a
                             personal injury lawsuit he commenced in
                             Middlesex County, New Jersey.



                                     5
Case 2:18-cr-00379-WHW Document 109 Filed 05/09/19 Page 6 of 17 PageID: 280



Question                         Matter Falsified or Concealed
Within one year before filing    Defendant Dxrams concealed that on or
for bankruptcy, were you a       about November 27, 2017, he commenced
party in any lawsuit?            a lawsuit in federal court in the District of
                                 New Jersey, demanding approximately
                                 $74,000 from a defendant. (17-12038)
                                 (JMV-JBC).

                                 Defendant Dxrams concealed that on or
                                 about November 27, 2017, he commenced
                                 a second lawsuit in federal court in the
                                 District of New Jersey, demanding
                                 approximately $75,000 from another
                                 defendant. (17-12040)(NLH-JS).
Within 2 years before filing     Defendant Dxrams concealed his sale and
for bankruptcy, did you sell,    transfer of the Bentley in or about March
trade, or otherwise transfer     2017 for approximately $82,000.
any property to anyone,
other than property              Defendant Dxrams concealed his transfer
transferred in the ordinary      of approximately $25,000 to defendant
course of your business or       King on or about March 30, 2017.
financial affairs?
Within 4 years before you        Defendant Dxrams concealed that he
filed for bankruptcy, did you    operated a business, namely, a car rental
own a business or have a         business, in 2015, 2016, and 2017.
connection to any business
as a sole proprietor or self-
employed in a trade,
profession, or other activity,
either full time or part time?




                                         6
Case 2:18-cr-00379-WHW Document 109 Filed 05/09/19 Page 7 of 17 PageID: 281



                                   II.    Argument

      In response to the arguments contained in defendant Dxram’s motion,
the Government replies as follows:

      A.     The Government’s Use of Certifications to Introduce Business
             Records is Proper

      In his brief, counsel for defendant Dxrams suggests that he may object to
the admission of business records at trial. (Def. Br. at 5). During trial, the
Government intends to introduce into evidence business records from banks, a
phone company, and an internet service provider against defendants King and
Dxrams. These bank records are relevant for several reasons. For example,
these bank records establish that defendant Dxrams, after fraudulently
obtaining title to a Bentley in furtherance of the conspiracy alleged in Count
Five of the Indictment, sold the Bentley to a third party. Defendant Dxrams
then deposited the proceeds from this sale into one of his bank accounts and
then issued a genuine a $25,000 cashier’s check to defendant King.

      Defendant Dxrams’ bank records are also relevant to the bankruptcy
fraud charges contained in Counts 16 and 17 of the Indictment. For example,
records from his multiple individual and business bank accounts demonstrates
that defendant Dxrams made numerous false statements and concealed facts
on his bankruptcy petition and corresponding schedules, including his
operation of a business, income generated by that business, and income
derived from other sources, among other things.

      The Government further intends to offer telephone transaction records
(non-content) related to two phone numbers used by defendant Dxrams. These
records establish numerous contacts between defendants Dxrams and King
during the time period alleged in the Count 5 conspiracy.

      The Government also intends to offer certain business records from
Google to establish and authenticate emails sent between defendant King and
Co-Conspirator Reynolds. In each instance, in lieu of numerous custodian-
witnesses, the Government intends to rely on certifications consistent with
Federal Rule of Evidence 902(11) to admit these business records 2 into
evidence.

       2.      Federal Rule of Evidence 803(6) provides for the admissibility of
business records when the records: (1) were “made at or near the time” by “someone
with knowledge”; (2) were “kept in the course of a regularly conducted activity of a
business”; (3) the “making the record was a regular practice of that activity”; (4) “all
these conditions are shown by the testimony of the custodian . . . or by a certification
that complies with Rule 902(11)”; and where (5) “the opponent does not show that the
source of information or the method or circumstances of preparation indicate a lack of
trustworthiness.” Fed. R. Evid. 803(6); see also United States v. Brown, 834 F.3d 403,
433–34 (3d Cir. 2016); United States v. Bansal, 663 F.3d 634, 666 (3d Cir. 2011).
                                           7
Case 2:18-cr-00379-WHW Document 109 Filed 05/09/19 Page 8 of 17 PageID: 282




      Rule 902(11) states the following, in substance and in part:

            Certified Domestic Records of a Regularly Conducted Activity.
            The original or a copy of a domestic record that meets the
            requirements of Rule 803(6)(A)-(C), as shown by a certification of
            the custodian or another qualified person that complies with a
            federal statute or a rule prescribed by the Supreme Court. Before
            the trial or hearing, the proponent must give an adverse party
            reasonable written notice of the intent to offer the record—and
            must make the record and certification available for inspection—so
            that the party has a fair opportunity to challenge them.

Id. In summary, Rule 902(11) states that a business record is admissible as a
self-authenticating document if it is accompanied by a certification of the
custodian, the proponent gives an adverse party reasonable written notice of
the intent to offer the record, and the proponent makes “the record and
certification available for inspection—so that the party had a fair opportunity to
challenge them.” Fed.R.Evid. 902(11).

       Here, consistent with Rule 902(11), the Government has provided
counsel for defendant Dxrams and defendant King, pro se, with the
certifications (Wells Fargo, TD Bank, Bank of America, AT&T, Google, Affinity
Federal Credit Union, Atlantic Stewardship Bank, and others), and these
certifications each comply with the rule. Furthermore, the Government has
provided written notice to the defense that it intends to rely on certifications to
offer business records. Finally, the underlying business records and
certifications have been made available to the defense for inspection.
Accordingly, the Government submits that these business records should be
admitted by way of certification.

      B.    Defendant Dxrams’ Motion in Limine to Exclude Evidence

            1.     Defendant Dxrams’ Auto Lease Applications Are Admissible

      Defendant Drams’ seeks the exclude “any alleged fraud in the application
process” related to his lease of several high-end luxury cars. (Def. Br. at 6).
Defendant Dxrams applied for four auto leases, as follows: (1) Bentley
Continental GT (2012); (2) Mercedes-Benz C300W4 (2015)(MB-1); (3) Mercedes-
Benz S550V4 (2016)(MB-3); and (4) Rolls Royce Wraith Coupe (2016). In
addition, defendant Dxrams’ spouse leased a Mercedes-Benz C300W4 (2015)
(MB-2).

      The evidence at trial will establish that defendant Dxrams, defendant
King, and Co-Conspirator Reynolds conspired to fraudulently payoff these
luxury cars so defendant Dxrams could own them outright. As part of the
scheme, they made and mailed fraudulent cashier’s checks and other
                                         8
Case 2:18-cr-00379-WHW Document 109 Filed 05/09/19 Page 9 of 17 PageID: 283



fraudulent documents to the companies that provided the financing for the
cars. At trial, the Government intends to offer into evidence the auto lease
applications related to each of the five cars (collectively the “Lease
Applications”).

       Federal Rule of Evidence 401 defines relevant evidence as having “any
tendency to make the existence of any fact that is of consequence to the
determination of the action more probable or less probable than it would be
without the evidence.” Fed. Rule Evid. 401 (emphasis added); see Old Chief v.
United States, 519 U.S. 172, 178 (2007)(citing Rule 401). The “any tendency”
language of Rule 401 relevance is very easy satisfed. United States v. Starnes,
583 F.3d 196, 214 (3d Cir. 2009)(“Rule 401 does not raise a high standard”
and evidence “is irrelevant only when it has no tendency to prove a
consequential fact” (internal quotation marks omitted)). In Huddleston v.
United States, 485 U.S. 681, 687 (1988), the Court noted that Rules 401 and
402 3 embody “the broad principle that relevant evidence—evidence that makes
the existence of any fact at issue more or less probable—is admissible unless
the Rules provide otherwise.”

        Here, the Lease Applications establish that (1) defendant Dxrams (and
his spouse) leased the cars subject to the Scheme, thus probative of his
connection to the Scheme and membership in the conspiracy; (2) he had
lawful obligations to pay the leases and the Scheme’s goal was to eliminate
these obligations, thus probative of his fraudulent intent and knowing
participation in the conspiracy; and (3) he personally and financially benefitted
and stood to benefit through the Scheme by obtaining and attempting to obtain
title to the cars. 4 Furthermore, certain evidence related Rolls Royce, the
Bentley, and the Mercedes-Benz cars were found in defendant King’s and
Co-Conspirator Reynolds’ home during the execution of a lawful search
warrant. Accordingly, the Lease Applications are highly relevant to the charges
pertaining to the Scheme. The Lease Applications provide both direct and
circumstantial evidence of defendant Dxrams’ knowingly participation in the
Count 5 conspiracy and the substantive mail fraud offenses (Counts 6 through
15) and his specific fraudulent intent, an essential element of each count. 5

       3.     Rule 402 expressly provides that all “[r]elevant evidence will be
admissible unless the rules of evidence provide to the contrary.” United States v.
Sriyuth, 98 F.3d 739, 745 (3d Cir.1996) (citations omitted).

       4.    As part of the scheme, defendant Dxrams and his co-conspirators mailed
a fraudulent $101,000 cashier’s check to Bentley, resulting in defendant Dxrams
fraudulently obtaining title to the car. Thereafter, defendant Dxrams sold the Bentley
for approximately $82,000 and then kicked back $25,000 to defendant King.

       5.      While the Government submits that this evidence provides direct
evidence of the charged crimes, the Government provides notice that, in the
alternative, it will seek to introduce this evidence under Rule 404(b) as motive,
preparation, and plan to commit the fraud.
                                            9
Case 2:18-cr-00379-WHW Document 109 Filed 05/09/19 Page 10 of 17 PageID: 284



      Moreover, defendant Dxrams’ interest in the Bentley, Rolls Royce, and
MB-3 are directly relevant to the bankruptcy fraud charges set forth in Counts
16 and 17. On his bankruptcy petition, defendant Dxrams’ listed the Royce
Rolls and MB-3 as debts in his bankruptcy petition. Moreover, defendant
Dxrams’ concealed his sale and transfer of the Bentley, which transfer occurred
in March 2017, during his bankruptcy proceedings. For example, the
Indictment alleges that:

            l      “Defendant Dxrams concealed that in 2017 he received
                   income . . . including approximately $76,000 from the same
                   of the Bentley.” (Indictment, Count 15, Paragraph 7f); and

            l      “[The defendant] . . . made a false oath . . . by falsely
                   swearing under oath that his Bankruptcy Petition . . . was
                   accurate and that he had not transferred anything of value
                   to any person in the last two or three years. . . .” (Indictment,
                   Count 16).

Defendant Dxrams’ interest in these cars, especially the Bentley, are directly
relevant to the bankruptcy fraud charges. Because the Government must
establish that defendant Dxrams leased and then sold (i.e., transferred) the
Bentley, evidence that he leased the Bentley is highly probative to establish the
falsity of certain representations on defendant Dxrams’ bankruptcy petition.
Accordingly, the Lease Applications are relevant.

       Furthermore, the Lease Applications are not inadmissible under Rule
403. Rule 403 states: “The court may exclude relevant evidence if its probative
value is substantially outweighed by a danger of one or more of the following:
unfair prejudice, confusing the issues, misleading the jury, undue delay,
wasting time, or needlessly presenting cumulative evidence.” Fed.R.Evid. 403.
When determining whether evidence violates Rule 403, district courts must
balance the probative value of the evidence against its prejudicial effect and set
forth its reasoning on the record.

      Here, the probative value of the Lease Applications is not substantially
outweighed by any of the dangers set forth in Rule 403. The fact that
defendant Dxrams applied for and obtained leases for high-end cars does not
constitute unfair prejudice. On balance, the compelling probative value of the
Lease Applications is not substantially outweighed by any prejudice arising
from the admission of this evidence, especially considering that these cars are
essential components of the charged Scheme.

       The Government recognizes that defendant Dxrams falsely inflated his
income on the Rolls Royce lease obtained in March 2016, claiming he earned
over $1.2 million in income. He also submitted a fictitious Form W-2 as part of
the lease application, again lying about his income. While all the lease
applications, including the Rolls Royce application, are relevant, as described
                                       10
Case 2:18-cr-00379-WHW Document 109 Filed 05/09/19 Page 11 of 17 PageID: 285



above, the Government will redact the income section on the Rolls Royce
application and will not admit the phony Form W-2 into evidence during the
Government’s case-in-chief. If, however, defendant Dxrams opens the door to
the admission of this evidence, then the Government reserves the right to
introduce this evidence. Finally, if defendant Dxrams elects to testify, then the
Government will use his fraudulent acts and false statements to impeach him.
See Fed.R.Evid. 608(b).

             2.     Defendant Dxrams’ Income is Relevant

      Defendant Dxrams seeks to preclude reference to defendant Dxrams’
income, claiming “it gives the impression that [defendant Dxrams], . . . a state
employee, could not afford the subject vehicles unless he was engaging in some
type of illegal activity.” (Def. Br. at p.10). This argument misses the mark.
Defendant Dxrams’ income is directly relevant to the bankruptcy fraud charges
contained in Counts 16 and 17 of the Indictment. 6

       At trial, the Government intends to offer financial transactions conducted
between 2015 through 2017 through multiple bank accounts (individual and
business) solely owned and controlled by defendant Dxrams. These financial
transactions, such as cash deposits and withdrawals, establish evidence
directly related to the bankruptcy fraud counts. Specifically, the Government
must establish that defendant Dxrams owned and operated a business during
the prior four years preceding his bankruptcy application; he derived income
from the operation if his business in 2015, 2016, and 2017; and he derived
income from other sources in 2015, 2016, and 2017.

      Counts 16 and 17 charge defendant Dxrams with bankruptcy fraud
related to his concealment of business income and other income. 7 Count 16
charges defendant Dxrams with “knowingly conceal[ing], . . . falsif[ying], and


        6.     During the timeframe alleged in the conspiracy (between February
through July 2017), defendant Dxrams experienced difficulties in keeping up with
certain of his lease payments. Such evidence during the charged conspiracy is
relevant in assessing defendant Dxrams’ knowing and intentional entrance and
participation in the conspiracy. This evidence also bears on his intent to defraud, an
essential element of the specific intent crimes alleged in Counts 5 through 15. Finally,
his failure to make timely lease payments (again during the conspiracy) is probative of
his motive to enter the conspiracy and engage in fraud. Accordingly, to the extent that
such evidence is admissible under Rule 404(b), the United States gives notice of its
intent to use such evidence to establish motive.

       7.     Count 16 alleges that defendant Dxrams made false statements and
concealed facts related to the following questions on his bankruptcy petition: “Did you
have any income from employment or from operating a business during this year
(2017) or the two previous calendar years (2016 and 2015)?” and “Did you receive any
other income during this year (2017) or the two previous calendar years (2016 and
2015), including money collected from lawsuits?”
                                          11
Case 2:18-cr-00379-WHW Document 109 Filed 05/09/19 Page 12 of 17 PageID: 286



[making] false entries in [his bankruptcy petition] . . . with the intent to impede
. . . [a bankruptcy proceeding] . . . .[i]n violation of Title 18, United States Code,
Section 1519 and 2. (Indictment, Dkt# 83, at p. 22). The Government must
prove that defendant Dxrams knowingly acted. See United States v. McQueen,
727 F.3d 1144, 1151-52 (11th Cir. 2013)(requiring the prosecution to prove
“knowingly” alter, destroy, mutilate, conceal, cover up, falsify, or make a false
entry).

      The defense’s claim that the Government intends to offer this evidence to
establish that defendant Dxrams engaged in some type of illegal activity is
inaccurate. The Government intends to offer this evidence to establish
defendant Dxrams’ guilt to bankruptcy fraud. For these reasons, the defense’s
motion to exclude evidence of defendant Dxrams’ income should be denied.

             3.    The Defendant’s Various Real Surnames are Admissible

      The defense seeks to exclude reference to defendant Dxrams’ use of “also
known as (“a/k/a”) names—i.e., the surnames “Dxrams” and “Kusi.” The
defense’s motion should be denied for the reasons set forth below.

       Use of an alias is permissible if it serves the useful purpose by either
identifying the defendant or protecting him or her from double jeopardy. See
United States v. Beedle, 463 F.2d 721, 725 (3d Cir. 1972)(citations omitted).
“Even if prejudicial . . . aliases and nicknames are proper in an indictment
where they will be part of the government’s proof at trial.” United States v.
Persico, 621 F.Supp. 842, 861 (S.D.N.Y. 1988). If a defendant’s alias does not
“in itself connote criminality . . . there is no risk the alias might unfairly
prejudice [the defendant].” United States v. Vazquez, 2008 WL 756071, at n.1
(E.D. Pa. 2008)(citation omitted)(not reported).

      Here, the names “Dxrams” and “Kusi” are not “also known as” names or
aliases. Rather, these names are his real surnames, and he used each name
during his commission of the crimes set forth in the Indictment.

       In November 2017, defendant Dxrams legally changed his name to
“Daniel Kusi.” Before November 2017, defendant Dxrams leased the cars
subject to the Scheme, opened bank accounts, and completed other relevant
acts, all using the name “Dxrams.” After changing his name to “Kusi” in
November 2017, defendant Dxrams filed for bankruptcy, opened bank
accounts, and completed other relevant acts, all using the name “Kusi.”

      The Government neither alleges nor intends make any claim that
defendant Dxrams changed his name for any illicit or improper purpose.
Instead, the Government intends to introduce evidence of his name to (1)
establish that defendant Dxrams and Kusi are the same person; (2) identify
him as the petitioner on the bankruptcy petition and during his bankruptcy
hearing (charged as bankruptcy fraud in Counts 16 and 17 of the Indictment);
                                      12
Case 2:18-cr-00379-WHW Document 109 Filed 05/09/19 Page 13 of 17 PageID: 287



and (3) establish that certain evidence (e.g., bank accounts and other
documents in the name Kusi) are associated with defendant Dxrams (and vice
versa). Without evidence that defendant Dxrams and Kusi are the same
person, the jury would be left with the false impression that the crimes alleged
in the Indictment were committed by two different people: one on trial and one
not.

      C.    The Government’s Use of Summary and Demonstrative Charts is
            Proper

      Defendant Dxrams argues that certain summary charts are not relevant
and/or constitute inadmissible hearsay. (Def. Br. at p. 12). The defense
contends that “no relevant basis for the introduction of ‘evidence’ from 2015 or
2016 [is present] since these years predate the alleged fraud.” (Id.). For the
reasons set forth below, the defense’s motion should be denied.

       During trial, the Government will seek the admission of certain
summaries under Rule 1006 and demonstrative charts under Rule 611(a). The
documentary and digital evidence in this case is voluminous. Summary charts
will help synthesize thousands of documents of financial transactions, phone
records, and other similar records for the jury’s consideration.

       Defendant Dxrams mistakenly concludes that evidence from 2015 and
2016 is not relevant and constitutes inadmissible hearsay. This evidence is
directly probative of the bankruptcy fraud charges alleged in Counts 16 and 17
of the Indictment. Count 16 charges defendant Dxrams with knowingly
concealing, covering up, falsifying, and making false entries in his bankruptcy
petition and corresponding forms and schedules. More specifically, Count 16
alleges that defendant Dxrams had income from operating a business during
2017, 2016, and 2015, which income he concealed during his bankruptcy
proceeding. Count 17 charges defendant Dxrams with making a false oath
during the course of his bankruptcy proceeding. During trial, the Government
intends to introduce evidence from defendant Dxrams’ bank accounts and
other financial disclosures that demonstrates the he operated a business
between 2015 and 2017 and derived income from the operation of the
business, contrary to the representations he made on his bankruptcy petition
and during his bankruptcy proceeding. Therefore, this evidence is highly
relevant and provides direct evidence of the bankruptcy fraud. Because this
evidence consists of statements made by defendant Dxrams (Fed.R.Evid
801(d)(2)) or bank records (Fed.R.Evid 803(6)), such evidence is either not
hearsay or an exception to the hearsay rule.

      The Government intends to use summary charts under Rule 1006 and
demonstrative charts under Rule 611(a) to present voluminous financial
evidence and other types of evidence. The Government sets forth the legal
analysis pertaining to Rule 1006 and Rule 611(a).

                                       13
Case 2:18-cr-00379-WHW Document 109 Filed 05/09/19 Page 14 of 17 PageID: 288



            1.    Summary Charts under Rule 1006

      The Government intends to admit certain summary charts under Rule
1006 into evidence at trial. The Government has complied with Rule 1006 by
giving notice and making the underlying records available for defense
inspection. Furthermore, the Government has provided the charts to the
defense.

       Rule 1006 governs the admission of summary evidence and states the
following in pertinent part:

            The proponent may use a summary, chart, or calculation to prove
            the content of voluminous writing . . . that cannot be conveniently
            examined in court. The proponent must make the originals or
            duplicates available for examination or copying, or both, by other
            parties at a reasonable time and place.

Fed.R.Evid. 1006. Courts have recognized that “it often takes a great deal of
court time to introduce a legion of documents to establish a single point” and,
because “it would be a grueling waste of time to examine all of underlying
evidence in court . . . charts and summaries are permitted within the court’s
discretion.” United States v. Bertoli, 854 F. Supp. 975, 1050 (D.N.J. 1994),
rev’d on other grounds, 40 F.3d 1384 (3d Cir. 1994)(quoting United States v.
Strissel, 920 F.2d 1162, 1163-64 (4th Cir. 1990)). “[C]ourts cannot rationally
expect an average jury to compile summaries and to create sophisticated flow
charts to reveal patterns that provide important references about the
defendants’ guilt.” Id. (internal quotation marks and citation omitted); see also
Mulholland v. Hoffer, 2007 WL 1276915, at *9 (E.D. Pa. Mar. 1, 2007)
(admitting summary chart of medical records showing medical treatments
related to accident); In re Ski Train Fire in Kaprun, Austria, 2006 WL 538200, at
*4 n.50 (S.D.N.Y. Mar. 6, 2006).

      Under Rule 1006, summary charts are admissible when the following
conditions are satisfied:

            (1) The underlying documents must be admissible, even if they are
            never admitted; (2) the underlying documents must be too
            voluminous for convenient in-court review; (3) the charts must
            accurately summarize the underlying documents; (4) the summary
            charts and the underlying documents must have been made
            available at a reasonable time and place for inspection by the
            opposing side; and (5) the person who prepared the charts must
            have been made available for cross examination.

Bertoli, 854 F. Supp. at 1050 (citations omitted). A witness who supervised the
summary chart’s preparation or carefully reviewed its content may establish
the “authenticity and accuracy” of the summary. United States v. Scales, 594
                                        14
Case 2:18-cr-00379-WHW Document 109 Filed 05/09/19 Page 15 of 17 PageID: 289



F.2d 558, 563 (6th Cir. 1979). Under Rule 1006, the underlying documents
not need to be admitted into evidence as a condition precedent for the
admission of Rule 1006 summary charts. Bertoli, 854 F. Supp. at 1050. Even
if the underlying documents have been admitted into evidence “the use of Rule
1006 summary charts may be appropriate.” Id. at 1050 n.138. The
“determining factor [is] the volume of documents summarized by the chart, not
whether the underlying documents had been physically admitted into
evidence.” Id.; see also United States v. Bansal, 663 F.3d 634, 668 (3d Cir.
2011) (affirming admission of two summary exhibits derived entirely from other
exhibits admitted into evidence).

      Furthermore, Rule 1006 “does not require ‘that it be literally impossible
to examine all the underlying records [before a summary chart may be used],
but only that in-court examination would be an inconvenience.’” Bertoli, 854 F.
Supp. at 1050 (quoting United States v. Possick, 849 F.2d 332, 339 (8th Cir.
1988)); accord United States v. Jennings, 724 F.2d 436, 441-42 (5th Cir. 1984)
(charts were introduced to summarize nearly 200 pages of material).

      Finally, a summary chart admitted under Rule 1006 does not need to
“accurately reflect all the facts in the case; it merely must accurately represent
the facts that it purports to summarize . . . [and] such summaries may present
only one party’s side of the case.” United States v. Lynch, 735 Fed.Appx. 780,
786 (3d Cir. 2018)(citing 2 McCormick on Evid. § 241 (7th ed.)). Charts
admitted under Rule 1006 are admitted as substantive evidence. See n10 infra.




                                       15
Case 2:18-cr-00379-WHW Document 109 Filed 05/09/19 Page 16 of 17 PageID: 290



      During trial, the Government anticipates that it will introduce numerous
summary charts into evidence under Rule 1006. The Government has
provided and made available to the defense the underlying voluminous
evidence for the charts; has provided the charts as marked exhibits to the
defense, and the defense will have the opportunity to cross examine any
witnesses who will testify as the proponents of such charts. Accordingly, this
Court should permit the use of such charts.

      2.     Summary Charts under Rule 611(a)

       The Government intends to admit into evidence certain demonstrative
charts under Rule 611(a). 8

      Because the charts sought to be admitted are actual summaries of
admissible evidence, they are admissible pursuant to Rule 1006. In the
alternative, however, these charts also meet the requirements of being
demonstrative charts pursuant to rule 611(a). In particular, Rule 611(a)
provides that:

             [t]he court shall exercise reasonable control over the
             mode and order of examining witnesses and presenting
             evidence so as to (1) make the those procedures
             effective for determining the truth, (2) avoid wasting
             time, and (3) protect witnesses from harassment or
             undue embarrassment.

      The use of demonstrative charts to “aid the jury’s comprehension is well
within the court’s discretion.” Possick, 849 F.2d at 339 (citing Fed. R. Evid.
611(a)). When a party uses Rule 611(a) charts, “a number of courts
considering the issue have developed safeguards to minimize possible prejudice
to a defendant by (1) ensuring that the individual who prepared the chart – as


       8.     As one court explained, the difference between Rule 611 and Rule 1006
charts is as follows:
             [T]here is a distinction between a Rule1006 summary and a
             so-called “pedagogical” summary. The former is admitted
             as substantive evidence, without requiring that the
             underlying documents themselves be in evidence; the latter
             is simply a demonstrative aid which undertakes to
             summarize or organize other evidence already admitted . . .
             . [A] pedagogical summary can itself be admitted into
             evidence where the trier of fact will find it helpful and will
             not be unduly influenced thereby.

White Indus. v. Cessna Aircraft Co., 611 F. Supp. 1049, 1069-70 (W.D. Mo. 1985)
(citations omitted).

                                          16
Case 2:18-cr-00379-WHW Document 109 Filed 05/09/19 Page 17 of 17 PageID: 291



well as the evidence upon which the preparer relied – was available for cross-
examination by the defendant to test the competence of the evidence as
presented in the summary chart, and, (2) ensuring that the district court
properly instructed the jury concerning the manner in which they were to
consider the charts.” Johnson, 54 F.3d at 1159 (citations omitted).

       Numerous courts of appeals have affirmed a district court’s admission of
demonstrative charts into evidence under Rule 611(a). See United States v.
Johnson, 54 F.3d 1150, 1160 (4th Cir. 1995)(holding that summary charts
could be admitted under Rule 611(a) where trial lasted seven days and over
thirty witnesses were called); United States v. Paulino, 935 F.2d 739, 752 (6th
Cir. 1991)(admitting charts under Rule 611(a)); United State v. Pinto, 850 F.2d
927, 935 (2d Cir. 1988) (holding that it was not an abuse of discretion to admit
summary charts where ten week trial involved numerous witnesses and
voluminous evidence). Finally, the Government may introduce these charts
either through a person who prepared the chart or a person who has reviewed
the underlying documents and confirmed the accuracy of the particular chart.
See Bertoli, 854 F. Supp. at 1055 (citations omitted).

      During trial, the Government anticipates that it will introduce numerous
summary charts into evidence under Rule 611(a). The Government has
provided and made available to the defense the underlying voluminous
evidence for the charts; has provided the charts as marked exhibits to the
defense, and the defense will have the opportunity to cross examine any
witnesses who will testify as the proponents of such charts. Accordingly, this
Court should permit the use of such charts.

                                 III. Conclusion

      For the reasons set forth above, the United States respectfully requests
that the Court deny the defense’s motion in toto.

                                            Respectfully submitted,
                                            CRAIG CARPENITO
                                            United States Attorney

                                            s/ Anthony Moscato

                                     By:    Lakshmi Srinivasan Herman
                                            Anthony Moscato
                                            Assistant U.S. Attorneys

cc:   Michael Orozco, Esq.
      Germaine H. King, Pro Se
      Kenneth W. Kayser, Esq.


                                       17
